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MINUTE ENTRY
FALLON, J.
APRIL 9, 2020

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



ADRIAN CALISTE ET AL                                                        CIVIL ACTION

VERSUS                                                                      NO. 17-6197

HARRY E. CANTRELL                                                           SECTION "L" (5)



       A telephone status conference was held on this date in the Chambers of the Honorable

Eldon E. Fallon. Eric Foley and James Craig participated on behalf of Plaintiffs. Mindy Duffourc

participated on behalf of Defendant Harry Cantrell. The parties discussed the status of the case and

reported that the parties had timely complied with the Court’s discovery order. Accordingly,

       IT IS ORDERED that the parties participate in a telephone status conference on Friday,

May 8, 2020 at 9:00 a.m. Parties are instructed to use the following dial-in information to

participate and are expected to be on the call five minutes before the scheduled start time.

       Dial-in #:      (877) 336-1839

       Access Code: 4227405




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